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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------X
                                       :
LEE SIEGEL, PHILIP HARRIS, and JORGE   :
OLIVEROS,                              :
                                       :              13cv1351 (DLC)
                    Plaintiffs,        :
                                       :              OPINION & ORDER
          -v-                          :
                                       :
BLOOMBERG L.P.,                        :
                                       :
                    Defendant.         :
                                       :
---------------------------------------X

Appearances:

For Plaintiffs:

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DENISE COTE, District Judge:

     Plaintiffs Lee Siegel (“Siegel”), Philip Harris (“Harris”),

and Jorge Oliveros (“Oliveros”) were formerly employed by

defendant Bloomberg L.P. (“Bloomberg”) as Service Desk

Representatives (“SDRs”).     SDRs are information technology (“IT”)

support staff members who provide technical support to

Bloomberg’s employees.    Claiming that they were unlawfully denied

overtime pay at the rate of time-and-a-half for hours worked in

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excess of forty in a week, plaintiffs bring this action alleging

violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

§ 206 et seq., and the New York Labor Law (“NYLL”), Art. 19 § 650

et seq. 1

     Plaintiffs moved for summary judgment on several issues

pertaining to their claims.      For the reasons that follow,

plaintiffs’ motion for summary judgment is granted in part.             SDRs

are not exempted from the wage and hour provisions of the FLSA,

but the calculation of any unpaid compensation must await trial.

BACKGROUND

     The following facts are drawn from the parties’ submissions

and, as is required at the summary judgment stage, are viewed in

the light most favorable to Bloomberg, the nonmovant.          See

Delaney v. Bank of Am. Corp., 766 F.3d 163, 167 (2d Cir. 2014).

Bloomberg provides financial news and tools to clients around the

world.      Its core business is a data, analytics, and news platform

delivered to subscribers through its proprietary Bloomberg

Terminal.


1 As both sides note, the NYLL explicitly incorporates certain
provisions of the FLSA, and thus similar analyses govern both the
federal law and state law claims here. See, e.g., Zheng v.
Liberty Apparel Co., 355 F.3d 61, 78 (2d Cir. 2003). Bloomberg
argues in its opposition to the instant motion that Siegel is not
entitled to recover under the NYLL because he worked almost
exclusively in a Bloomberg office in New Jersey. In their reply
brief, plaintiffs counter that Siegel states a valid claim under
the NYLL because Bloomberg treated him as having worked in New
York. This dispute need not be resolved at this time, and,
accordingly, for simplicity this Opinion proceeds by discussing
the FLSA only.

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     SDRs provide technical support to other Bloomberg employees,

such as its sales representatives.      SDRs field inquiries from

employees about their technical support needs, including

questions related to computers (hardware and software), mobile

technology, and telephone issues.      Employee inquiries that have

been submitted to the SDRs are referred to as “tickets.”          When an

SDR receives a ticket, he must decide whether it presents a

problem he can solve, and if so, how to solve it, or whether it

presents a problem that must be “escalated” to a department other

than the Service Desk.    As they work on tickets, SDRs are

expected to enter notes regarding the latest status of the

resolution of the inquiry, which is known as “updating.”

     Although responding to employee inquiries is an SDR’s

primary responsibility, it is not his only one.        Oliveros, for

example, worked on a six-month-long special project to package

and to test connectivity software.      And Harris played a

leadership role in a number of special projects, on which he

estimated he spent “30 percent” of his working time.

     SDRs are hired as fulltime employees and are generally

assigned to daily shifts totaling forty hours of work per week.

SDRs will, however, sometimes work more or fewer than forty hours

in a given week.    When an SDR’s shift begins, he is expected to

be logged in to Bloomberg’s telephone and ticket systems, ready

to field requests.   It takes about a minute for an SDR to log in

to those systems.

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     Bloomberg uses a badge system, whereby employees “badge in”

when they enter Bloomberg office buildings and “badge out” when

they leave.   The system maintains electronic data.        Throughout

the day, SDRs take breaks for any number of reasons, including to

visit Bloomberg’s “pantry” where they can get breakfast, drinks,

and snacks, to smoke, to make personal telephone calls, or simply

to socialize.   Unless SDRs leave the building, these breaks are

not reflected in the badge data.

     SDRs are not explicitly required or encouraged to work from

home before or after their shifts.      Bloomberg does not expect

SDRs to check Bloomberg email anytime outside of their shifts,

and Bloomberg does not provide SDRs with mobile devices to

remotely access Bloomberg email or systems.

     During the relevant time period, Bloomberg paid SDRs an

annual salary, as well as a potential annual bonus.         Bonuses were

based on company performance, department performance, and

individual metrics.    Those bonuses were not tied directly to

hours worked, and neither the badge data nor the system login

data was part of the individual metrics used in determining

bonuses.

     Also during the relevant time period, Bloomberg apparently

classified the SDR position as exempt from the FLSA’s overtime

requirements, as Bloomberg did not pay SDRs overtime.         In April

2013, after plaintiffs had left Bloomberg, pursuant to an

agreement with the U.S. Department of Labor (“DOL”), Bloomberg

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began paying SDRs overtime.     Bloomberg offered to reclassify the

SDR position as nonexempt from the FLSA in connection with the

DOL agreement because, based on discussions with the DOL,

Bloomberg anticipated that the DOL would consider the SDR

position to be nonexempt.

     Siegel worked as an SDR at Bloomberg from September 2010

until June 2012.   Harris was employed by Bloomberg as an SDR from

January 2011 until September 2012.      According to the materials

submitted by plaintiffs, Oliveros began working at Bloomberg in

1997 and moved to a “Help Desk” position in 2004.         He would have

held that position in September 2007, which is the starting point

for his damages claims.    By March 2010, the Help Desk was renamed

the Service Desk, and Oliveros took on the title of SDR, which he

held until he left Bloomberg in January 2013.        The materials

submitted by Bloomberg, which go back to January 2010, indicate

that directly before taking on the SDR title in March 2010,

Oliveros’s title was IT Analyst-Junior.       The parties do not

appear to dispute that Oliveros’s job duties remained the same

between September 2007, when he was employed at the Help Desk

(presumably as an IT Analyst-Junior), and March 2010, when his

title switched to SDR.

     To show that there were weeks during which they worked in

excess of forty hours, entitling them to unpaid overtime wages,

plaintiffs adduce evidence of the time they spent working, both

in and out of the office.     To calculate in-office time,

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plaintiffs rely on Bloomberg’s badge data.          The out-of-office

time is based on plaintiffs’ testimony: Harris and Oliveros claim

to have worked from home eight hours per week and three hours per

week, respectively.       Siegel does not claim to have worked from

home.

DISCUSSION

     Plaintiffs move for summary judgment on three separate

issues: (1) whether they were covered by, and not exempt from,

the FLSA; (2) how many overtime hours they worked; and (3) what

rate of pay should apply to any overtime hours they worked.

     Summary judgment may not be granted unless all of the

submissions taken together “show[] that there is no genuine

dispute as to any material fact” and that plaintiffs, the

movants, “[are] entitled to judgment as a matter of law.”             See

Fed. R. Civ. P. 56(a).       Plaintiffs bear the burden of

demonstrating the absence of a material factual question, and, in

making this determination, all facts are viewed in the light most

favorable to Bloomberg and all reasonable inferences are drawn in

Bloomberg’s favor.      See Eastman Kodak Co. v. Image Technical

Servs., 504 U.S. 451, 456 (1992); Holcomb v. Iona Coll., 521 F.3d

130, 132 (2d Cir. 2008).

     A.      Were Plaintiffs Covered and Not Exempt?

     The FLSA generally provides that employees be paid time-and-

a-half for hours worked in excess of forty in a week.            See 29

U.S.C. § 207(a)(1).       Specific classes of employees, however, are

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exempted from this general provision.       Id. § 213(a).    “Because

the FLSA is a remedial act, its exemptions . . . are to be

narrowly construed. . . .     Accordingly, an employer bears the

burden of proving that its employees fall within an exempted

category of the [FLSA].”    Ramos v. Baldor Specialty Foods, Inc.,

687 F.3d 554, 558 (2d Cir. 2012) (citation omitted).

     “The exemption question under the FLSA is a mixed question

of law and fact.   The question of how the employees spent their

working time is a question of fact.      The question of whether

their particular activities excluded them from the overtime

benefits of the FLSA is a question of law.”        Pippins v. KPMG,

LLP, 759 F.3d 235, 239 (2d Cir. 2014) (citation omitted).          Here,

there is no genuine dispute about how plaintiffs spent their

working time.   The dispute is over whether plaintiffs’ activities

excluded them from the overtime benefits of the FLSA.

     The exemption raised by Bloomberg in this case applies to

employees “employed in a bona fide . . . administrative . . .

capacity.”   29 U.S.C. § 213(a)(1). 2    According to the regulations

defining this so-called “administrative exemption,” it applies to

     any employee: (1) Compensated on a salary or fee basis
     at a rate of not less than $455 per week . . . ;
     (2) Whose primary duty is the performance of office or
     non-manual work directly related to the management or
     general business operations of the employer or the
     employer’s customers; and (3) Whose primary duty
     includes the exercise of discretion and independent
     judgment with respect to matters of significance.

2 Bloomberg, which bears the burden of showing that an FLSA
exemption applies, relies exclusively on the administrative
exemption.
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29 C.F.R. § 541.200(a).

     Bloomberg bears the burden of showing that all three

elements are satisfied.    Ramos, 687 F.3d at 558.      It is

undisputed that the first element is satisfied here.         And

because, as discussed below, Bloomberg cannot show that the third

element is satisfied, the second element need not be discussed.

     The third element requires a determination of the employee’s

“primary duty.”   Notwithstanding any special projects that

plaintiffs may have undertaken, the record reveals that their

primary duty consisted of troubleshooting and fixing problems

with other Bloomberg employees’ information technology.          Thus,

the question is whether troubleshooting and fixing other

employees’ technology problems “includes the exercise of

discretion and independent judgment with respect to matters of

significance.”    Assuming that this duty includes the exercise of

discretion and independent judgment, it does not do so with

respect to matters of significance.

     “The term ‘matters of significance’ refers to the level of

importance or consequence of the work performed.”         29 C.F.R.

§ 541.202(a).

     Factors to consider when determining whether an
     employee exercises discretion and independent judgment
     with respect to matters of significance include, but
     are not limited to: whether the employee has authority
     to formulate, affect, interpret, or implement
     management policies or operating practices; whether the
     employee carries out major assignments in conducting
     the operations of the business; whether the employee
     performs work that affects business operations to a
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     substantial degree, even if the employee’s assignments
     are related to operation of a particular segment of the
     business; whether the employee has authority to commit
     the employer in matters that have significant financial
     impact; whether the employee has authority to waive or
     deviate from established policies and procedures
     without prior approval; whether the employee has
     authority to negotiate and bind the company on
     significant matters; whether the employee provides
     consultation or expert advice to management; whether
     the employee is involved in planning long- or short-
     term business objectives; whether the employee
     investigates and resolves matters of significance on
     behalf of management; and whether the employee
     represents the company in handling complaints,
     arbitrating disputes or resolving grievances.

Id. § 541.202(b).   “An employee does not exercise discretion and

independent judgment with respect to matters of significance

merely because the employer will experience financial losses if

the employee fails to perform the job properly.”        Id.

§ 541.202(f).

     Here, neither the level of importance nor consequence of the

work plaintiffs performed rises to the level of a “matter of

significance.”   Plaintiffs did not have authority to formulate,

affect, interpret, or implement management policies or operating

practices.   Plaintiffs did not carry out major assignments in

conducting the operations of the business.       Plaintiffs did not

perform work that affected business operations to a substantial

degree.   Plaintiffs did not have authority to commit Bloomberg in

matters that had significant financial impact.        Plaintiffs did

not have authority to waive or deviate from established policies

and procedures without prior approval.       Plaintiffs did not have

authority to negotiate and bind Bloomberg on significant matters.
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Plaintiffs did not provide consultation or expert advice to

management.   Plaintiffs were not involved in planning long- or

short-term business objectives.      Plaintiffs did not investigate

or resolve matters of significance on behalf of management.             And

plaintiffs did not represent Bloomberg in handling complaints,

arbitrating disputes, or resolving grievances.

     There is no binding authority on the applicability of the

administrative exemption to IT employees.        What the Second

Circuit has recently said about the administrative exemption in

general, however, confirms its nonapplicability here:

     [I]n th[e] context [of the administrative exemption],
     the deployment of discretion and judgment is manifested
     by the authority to formulate, affect, interpret, or
     implement the employer’s management policies or its
     operating practices, by involvement in planning the
     employer’s long-term or short-term business objectives,
     or by the carrying out of major assignments or
     committing major financial resources in the conduct of
     the employer’s business.

Pippins, 759 F.3d at 240-41 (citation omitted).         The record lacks

evidence either of plaintiffs’ involvement in planning

Bloomberg’s long-term or short-term business objectives, or of

plaintiffs’ carrying out major assignments or committing major

financial resources in the conduct of Bloomberg’s business.

     There is scant nonbinding authority on the applicability of

the administrative exemption to IT employees.        The principal case

on which plaintiffs rely is Martin v. Indiana Michigan Power Co.,

381 F.3d 574 (6th Cir. 2004).      There, the Sixth Circuit held that

an IT support specialist whose primary duties included

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troubleshooting and fixing computer problems did not fall within

the administrative exemption, inter alia because the specialist’s

work was not “of substantial importance to the management or

operation of the business of his employer.”        Id. at 583 (citation

omitted).   Among other things, the specialist did not design or

develop his employer’s computer network or determine how to

configure the software available on that network.         Id.

     Bloomberg attempts to distinguish Martin by pointing out

that, there, the plaintiff did not decide or recommend when

equipment needed to be serviced and replaced; by contrast, says

Bloomberg, plaintiffs here exercised that sort of discretion and

judgment.   This distinction serves to highlight what has already

been assumed: plaintiffs here exercised discretion and judgment.

But it does not speak to the fact that this discretion and

judgment was not exercised with respect to matters of

significance.

     Bloomberg states that the DOL recognizes “computer network”

as the type of “management or general business operation” that

can satisfy the “matters of significance” test under the

administrative exemption.     In support of this statement,

Bloomberg cites 29 C.F.R. § 541.201.       That regulation relates to

the second element of the administrative exemption, offering

examples of the type of the work that is directly related to

management or general business operations.        The regulation does

indeed list “computer network” as one such type of work.          Even

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assuming that Bloomberg has raised a genuine dispute as to a

material fact on the second element, Bloomberg cannot rely on

this regulation in support of the proposition that “computer

network” work constitutes a “matter[] of significance.”          The

requirement that the exercise of discretion and judgment relate

to “matters of significance” is part of the administrative

exemption’s third element, to which § 541.201 does not pertain.

     Finally, Bloomberg argues that because its core business is

providing hardware and software to its clients, the work

performed by SDRs relates to a matter of significance in a way

that is distinct from the work performed by IT technicians at

other companies.    Bloomberg points out that if SDRs do not

adequately perform their job, Bloomberg could lose a potential

client.

     This argument overstates the connection between what the

SDRs do and what the Bloomberg sales force does.         As the record

makes clear, plaintiffs worked on troubleshooting and fixing the

computer systems of other Bloomberg employees.         There is no

indication that plaintiffs designed or developed the hardware and

software that form the basis of the Bloomberg Terminal product.

A failure to properly troubleshoot a problem with the software

installed on a salesperson’s computer could lead that salesperson

to lose a deal with a potential client, whether the salesperson’s

company sells stock-information terminals or baseball cards.

     Because nothing in the record, when viewed in the light most

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favorable to Bloomberg, raises a triable issue as to whether

plaintiffs exercised discretion and judgment with respect to

matters of significance -- an issue on which Bloomberg bears the

burden -- plaintiffs are entitled to the summary determination

that they do not fall under the administrative exemption to the

FLSA. 3

      B.   How Many Overtime Hours Did Plaintiffs Work?

      Plaintiffs next ask the Court to find as a matter of law

that they worked overtime hours in the amount that they allege.

“To establish liability under the FLSA on a claim for unpaid

overtime, a plaintiff must prove that he performed work for which

he was not properly compensated, and that the employer had actual

or constructive knowledge of that work.”         Kuebel v. Black &

Decker Inc., 643 F.3d 352, 361 (2d Cir. 2011).          A plaintiff must

“produce sufficient evidence to show the amount and extent of

that work as a matter of just and reasonable inference.”           Id.

(quoting Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687

(1946)).   “[I]t is possible for a plaintiff to meet this burden

through estimates based on his own recollection.”          Id. at 362.

      The burden then shifts to the employer to come forward
      with evidence of the precise amount of work performed

3 Because, as explained above, the administrative exemption does
not apply on its own terms, it is unnecessary to analyze two
additional arguments that plaintiffs offer against application of
the exemption: (1) following plaintiffs’ departure, Bloomberg
began paying SDRs overtime, which could indicate Bloomberg’s
recognition of a lack of exemption; and (2) certain DOL Opinion
Letters interpreting the regulations that define the
administrative exemption would seem to militate against
application of the exemption here.
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         or with evidence to negative the reasonableness of the
         inference to be drawn from the employee’s evidence. If
         the employer fails to produce such evidence, the court
         may then award damages to the employee, even though the
         result be only approximate.

Id. (quoting Anderson, 328 U.S. at 687-88).

         Here, plaintiffs present evidence of hours worked both in

the office and, for Harris and Oliveros, out of the office.                 With

respect to onsite work, “[t]he workweek ordinarily includes ‘all

the time during which an employee is necessarily required to be

on the employer’s premises, on duty or at a prescribed work

place.’”      29 C.F.R. § 785.7 (quoting Anderson, 328 U.S. at 690-

91). 4    “In those cases where time clocks are used, employees who

voluntarily come in before their regular starting time or remain

after their closing time, do not have to be paid for such periods

provided, of course, that they do not engage in any work.              Their

early or late clock punching may be disregarded.”             Id.

§ 785.48(a).       “Bona fide meal periods are not worktime.         Bona

fide meal periods do not include coffee breaks or time for

snacks.      These are rest periods.      The employee must be completely

relieved from duty for the purposes of eating regular meals.

Ordinarily 30 minutes or more is long enough for a bona fide meal


4 “The ultimate decisions on interpretations of the [FLSA] are
made by the courts. . . . The regulations in this part seek to
inform the public of [the] positions [the DOL will take in
enforcing the FLSA].” 29 C.F.R. § 785.2 (citing Skidmore v.
Swift, 323 U.S. 134, 138 (1944)). That being said, “[t]he long-
standing regulations in Part 785 reflect the D[OL]’s expertise on
interpretive questions that are essential to the administration
of the [FLSA].” Chao v. Gotham Registry, Inc., 514 F.3d 280, 288
(2d Cir. 2008).
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period.”   Id. § 785.19(a).

     There is a genuine dispute as to the amount of in-office and

out-of-office hours worked, and thus plaintiffs are not entitled

to summary acceptance of their figures.       These are matters of

factual dispute that require a trial.

     C.    What Rate of Pay Applies to Overtime Hours?

     Finally, plaintiffs ask for a summary determination that any

overtime backpay they are due be calculated at a rate of time-

and-a-half their regular hourly rate, rather than at a rate of

one-half their regular hourly rate, as would be called for by the

fluctuating workweek (“FWW”) method.       The history and analysis of

the FWW method -- set forth by the Honorable Katherine Failla in

Klein v. Torrey Point Grp., 979 F. Supp. 2d 417, 435-39 (S.D.N.Y.

2013) -- is incorporated here.

     As Judge Failla noted, the Second Circuit has never

commented on the FWW method.      Id. at 437.    The FWW method first

arose in the Supreme Court case of Overnight Motor Transp. Co. v.

Missel, 316 U.S. 572, 579-81 (1942).       Subsequently, the DOL

promulgated regulations that sought to codify the FWW method.             29

C.F.R. § 778.114.    For the reasons given by Judge Failla, the FWW

method as spelled out in the DOL regulations cannot apply to a

case like this one, where an employee was misclassified by his

employer as exempt from the FLSA’s overtime requirements and

never received overtime payments.       979 F. Supp. 2d at 437.         But,

as also explained by Judge Failla, the FWW method as originally

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spelled out in Missel may still apply in this context.            Id. at

438.

       The relevant standard is as follows:        If an employee was

misclassified as exempt from overtime payments and accepted a

position with the understanding that his salary was compensation

for forty hours of work and no more -- e.g., that the employee

would work no more than forty hours per week, or agreed to work

additional hours for no pay at all -- then the traditional time-

and-a-half method of calculating overtime would be appropriate.

Id. at 439.     In the alternative, if an employee reached a clear

understanding that his compensation was payment for all hours

worked per week, no matter their number, then the method

prescribed in Missel would govern.         Id.

       Circuits are split -- and the Second Circuit has not weighed

in -- on whether the employer bears the burden of proving the

“clear understanding” needed to invoke Missel’s FWW method, or

whether the employee bears the burden of proving the lack of such

a “clear understanding.”       See O’Brien v. Town of Agawam, 350 F.3d

279, 288 n.17 (1st Cir. 2003) (collecting cases).           That question

need not be answered here, however, because, even if the employer

bears the burden of proving a “clear understanding,” plaintiffs

have not satisfied the summary judgment standard of showing no

genuine dispute as to a material fact.

       Viewed in the light most favorable to Bloomberg, the record

indicates a genuine dispute as to “what the parties mutually

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understood regarding [p]laintiffs’ employment.”         Klein, 979 F.

Supp. 2d at 439.     Plaintiffs submit that they understood that

their salary was supposed to cover forty hours of work a week,

and that Bloomberg did not pay anything for any extra work they

performed.   But, as Bloomberg notes, plaintiffs’ deposition

testimony reveals a murkier picture.       Harris, for example,

testified that when he discussed the lack of overtime pay with

his team leaders, he was told that he “would get a salary,” and

he “interpreted it to mean that whatever hours you work is that’s

the salary you get, the forty hours.”       Similarly, Siegel

testified that his weekly forty-hour assignment was his “stated

work week but it was worked as needed.”       “Only an eventual

factual determination regarding what the parties mutually

understood regarding [p]laintiffs’ employment can provide the

basis for a conclusion regarding how overtime damages should be

calculated.”   Id.    Accordingly, plaintiffs’ motion for summary

judgment on this issue cannot be granted.




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CONCLUSION

     Plaintiffs’ motion for summary judgment is granted in part.

Plaintiffs are entitled to a summary determination that they were

covered by and not exempt from the overtime provisions of the

FLSA.     Plaintiffs are not entitled to summary acceptance of their

calculation of working hours.         Nor are they entitled to summary

judgment on the issue of what pay rate should apply to overtime

hours.

     SO ORDERED:

Dated:       New York, New York
             January 16, 2015
                                     _________________________________
                                               DENISE COTE
                                        United States District Judge




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